                 Case 3:12-cr-05211-RJB       Document 44       Filed 12/20/12      Page 1 of 1

                UNITED STATES DISTRICT COURT WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
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         UNITED STATES OF AMERICA,
 3                                                       Case No. CR12-5211RJB
                              Plaintiff,
 4                                                       INITIAL ORDER RE: ALLEGATIONS
                       v.                                OF VIOLATION OF CONDITIONS
 5                                                       OF SUPERVISION BY UNITED
         CHRISTIAN CALLES,                               STATES PRETRIAL SERVICES
 6
                              Defendant.
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 9   THIS MATTER comes on for hearing on the Petition of the United States Pretrial Services Office
     Office alleging that the defendant has violated the conditions of the Appearance Bond supervision as
10   set forth in the Petition filed by U.S. Pretrial Services

11   The plaintiff appears through Special Assistant United States Attorney, MATTHEW THOMAS.

12   The defendant appears personally and represented by counsel, TIM LOHRAFF.

13   The defendant has been advised of the allegation(s)and that he/she could be detained pending resolution
     of the underlying charges in the Complaint/Indictment/ or Information if found to be in violation;
14   maximum potential sanction if substantiated; and

15   The court finding probable cause with regard to the allegation(s); the matter is scheduled for hearing
     on the following time and date before the Honorable J RICHARD CREATURA:
16
17                          Date: JANUARY 22, 2013

18                          Time: 10:00 A.M.

19   (   ) Defendant is released pending the above scheduled hearing.

20   (X) Defendant is ordered detained for failing to show that he/she will not flee or pose a danger to any
     other person or the community pursuant to CrR 32.1(a)(1), and CrR 46(c), to be delivered as ordered
21   by the court for further proceedings.

22   The clerks shall direct copies of this order to counsel for the United States, to counsel for the defendant,
     the United States Marshal and to the United States Pretrial Services Office.
23
                                                          December 20, 2012.
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26
                                                          A
                                                          J. Richard Creatura
                                                          United States Magistrate Judge
27
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     ORDER
     Page - 1
